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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

  In re:                                          §
                                                  §            Case No. 23-30960 (jpn)
  Sourcewater, Inc. dba Sourcenergy,              §
                                                  §                     Chapter 11
            Debtor.                               §                    Subchapter V


     NOTICE OF FILING STATEMENT OF CASH FLOWS, PROFIT AND LOSS
  STATEMENT, AND BALANCE SHEET FOR YEAR ENDING DECEMBER 31, 2022


       PLEASE TAKE NOTICE of the attached Debtor’s:

             1. Statement of Cash Flows;

             2. Profit and Loss Statement; and

             3. Balance Sheet.

Each of these financial documents are for the year ending December 31, 2022.

           Dated: March 30, 2023
                                             Respectfully submitted,

                                             CHAMBERLAIN, HRDLICKA, WHITE,
                                                   WILLIAMS & AUGHTRY, P.C.


                                             By: /s/ Jarrod B. Martin
                                             Jarrod B. Martin
                                             Texas Bar No. 24070221
                                             1200 Smith Street, Suite 1400
                                             Houston, Texas 77002
                                             D: 713.356.1280
                                             F: 713.658.2553
                                             E: jarrod.martin@chamberlainlaw.com

                                             Proposed Counsel for Debtor




NOTICE OF FILING STATEMENT OF CASH FLOWS, PROFIT AND LOSS STATEMENT, AND BALANCE SHEET FOR YEAR
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                                                                                                                          Sourcenergy, Inc.
                                                                                                                      Statement of Cash Flows
                                                                                                                               January - December 2022

                                                                                 Jan 2022           Feb 2022          Mar 2022           Apr 2022          May 2022             Jun 2022       Jul 2022              Aug 2022           Sep 2022           Oct 2022       Nov 2022              Dec 2022            Total
OPERATING ACTIVITIES
 Net Income                                                                          -132,577.79        -112,375.53       -144,132.80        -118,270.71       -28,336.80        -146,491.28       -105,860.90         -94,883.18        -128,915.06         -71,825.20        -71,938.57         -18,338.48        -1,173,946.30
 Adjustments to reconcile Net Income to Net Cash provided by operations:                                                                                                                                                                                                                                                      0.00
   Accounts Receivable                                                                65,035.79           -1,707.29        -33,505.87         -30,115.22       16,375.05         -149,398.55       215,520.87           34,503.14         -15,844.33         10,914.71         16,627.06          -74,478.27           53,927.09
   Due from Wellsite Navigator                                                                                                                                                                                                                                                 10,985.95                               10,985.95
   Prepaid Expenses                                                                      100.00             100.00            100.00             100.00           100.00             100.00          -4,158.00            454.83             454.83             454.83            454.83             454.83             -1,283.85
   x Accumulated Depreciation                                                                                                                                                                                                                                                                      -9,755.49            -9,755.49
   Accounts Payable                                                                    -2,201.65          5,589.36         67,518.29          -27,887.25       18,771.97          -37,587.74        39,092.61          -26,286.30           7,898.88          -4,876.57        19,073.72         -138,475.89          -79,370.57
   CC - Amegy 9040 Control                                                             3,013.39          18,465.70         11,151.29           -7,974.19       15,843.66            1,380.95        14,106.85           12,126.63           2,238.02          6,231.01          3,519.49         -176,769.93          -96,667.13
   Accrued Payroll Liability                                                                                                                                                                                                                4,423.58          8,847.16          8,847.16            8,847.16           30,965.06
   Energy Debt Holdings LLC - Loan Payable                                           150,000.00         100,000.00        100,000.00         100,000.00                            12,871.23                                               26,335.21                                               39,946.17          529,152.61
   Payroll Clearing                                                                        0.00               0.00              0.00             114.38             0.00                0.00             0.00                0.00               0.00              0.00              0.00                0.00                114.38
   Sales Tax Payable                                                                     -189.03            -270.39         3,822.24             -291.77        2,910.52           -1,644.94            85.80           -2,081.16           1,118.29          -4,850.77         -3,518.34           1,514.25            -3,395.30
   Unearned Revenue                                                                   -30,724.05         -19,610.06        20,096.35          -13,081.44         -572.20          151,623.45        -54,767.99         -29,130.15         -20,699.06          -5,073.02        -57,508.87          57,131.75            -2,315.29
 Total Adjustments to reconcile Net Income to Net Cash provided by operations:   $ 185,034.45      $ 102,567.32       $ 169,182.30      $     20,864.51    $ 53,429.00      -$     22,655.60   $ 209,880.14      -$     10,413.01   $       5,925.42   $     11,647.35    -$    1,519.00    -$    291,585.42   $      432,357.46
Net cash provided by operating activities                                        $ 52,456.66       -$     9,808.21    $ 25,049.50       -$    97,406.20    $ 25,092.20      -$    169,146.88   $ 104,019.24      -$    105,296.19   -$    122,989.64   -$    60,177.85    -$   73,457.57    -$    309,923.90   -$     741,588.84
INVESTING ACTIVITIES
 Computers & Peripherals                                                                                                                                                                                                                                                                           24,043.23           24,043.23
 Fixed Asset Office Equipment                                                                                                                                                                                                                                                                      71,246.38           71,246.38
 Leasehold Improvements                                                                                                                                                                                                                                                                            19,539.21           19,539.21
 Security Deposits                                                                                                                                                                                                                                                                                  5,496.00            5,496.00
Net cash provided by investing activities                                        $         0.00    $          0.00    $         0.00    $          0.00    $        0.00    $           0.00   $         0.00    $           0.00   $           0.00   $          0.00    $         0.00    $     120,324.82   $      120,324.82
FINANCING ACTIVITIES
 Interest Accrued - Convertible Notes Investors                                        4,838.33           4,838.33          4,838.33           4,838.33         4,838.33            4,838.33         4,838.33            4,838.33           4,838.33          4,838.33          4,838.33            4,838.33           58,059.96
 Interest Accrued - Notes Payable Officer                                              3,300.00           3,300.00          3,300.00           3,300.00         3,300.00            3,300.00         3,300.00            3,300.00           3,300.00          3,300.00          3,300.00            3,300.00           39,600.00
 Note Payable-Officer                                                                                                           0.00          25,000.00                            80,000.00                            50,000.00         100,000.00         50,000.00         44,014.05           50,000.00          399,014.05
 Notes Payable - EIDL Loan                                                                                                                                     39,700.00                                                                                                                           -2,526.00           37,174.00
Net cash provided by financing activities                                        $     8,138.33    $      8,138.33    $     8,138.33    $     33,138.33    $ 47,838.33      $      88,138.33   $     8,138.33    $      58,138.33   $     108,138.33   $     58,138.33    $    52,152.38    $      55,612.33   $      533,848.01
Net cash increase for period                                                     $ 60,594.99       -$     1,669.88    $ 33,187.83       -$    64,267.87    $ 72,930.53      -$     81,008.55   $ 112,157.57      -$     47,157.86   -$     14,851.31   -$     2,039.52    -$   21,305.19    -$    133,986.75   -$      87,416.01
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                                                                                                                    Sourcenergy, Inc.
                                                                                                                     Profit and Loss
                                                                                                                    January - December 2022

                                                Jan 2022           Feb 2022           Mar 2022           Apr 2022       May 2022             Jun 2022            Jul 2022       Aug 2022             Sep 2022        Oct 2022        Nov 2022             Dec 2022            Total
Income
 Sales
   Data Base Subscriptions                         59,466.80          43,709.06          50,402.65          53,025.19        52,129.95          51,537.55          56,067.99         54,799.15          37,642.81        60,856.77        56,990.63          39,975.00         616,603.55
   Late Fees + CC Fees                                                                                                                            239.85                                                                                                       165.82                 405.67
   Services                                         1,911.15                              3,794.13           1,902.66         1,901.31           1,902.66            2,278.95         1,901.31           1,902.66                                                               17,494.83
   x - Discounts/Refunds Given                                                                                                                                                                                                                                 -325.00             -325.00
 Total Sales                                $      61,377.95   $      43,709.06   $      54,196.78   $      54,927.85   $    54,031.26   $      53,680.06   $      58,346.94    $    56,700.46   $      39,545.47   $    60,856.77   $    56,990.63   $      39,815.82   $     634,179.05
 Uncategorized Income                                                                                                                                                                                                                                                                   0.00
Total Income                                $      61,377.95   $      43,709.06   $      54,196.78   $      54,927.85   $    54,031.26   $      53,680.06   $      58,346.94    $    56,700.46   $      39,545.47   $    60,856.77   $    56,990.63   $      39,815.82   $     634,179.05
Cost of Goods Sold
 Data Costs                                         5,274.00           7,850.00           5,288.00           5,288.00         5,050.79           2,540.41            5,537.69         9,683.55           2,500.00         9,500.00         9,500.00          16,750.00          84,762.44
 Website Hosting & Support                          9,828.98            475.72             430.77            2,708.35        10,856.73          11,049.58          10,904.87         11,734.52          10,783.68         9,542.41         6,809.01                             85,124.62
Total Cost of Goods Sold                    $      15,102.98   $       8,325.72   $       5,718.77   $       7,996.35   $    15,907.52   $      13,589.99   $      16,442.56    $    21,418.07   $      13,283.68   $    19,042.41   $    16,309.01   $      16,750.00   $     169,887.06
Gross Profit                                $      46,274.97   $      35,383.34   $      48,478.01   $      46,931.50   $    38,123.74   $      40,090.07   $      41,904.38    $    35,282.39   $      26,261.79   $    41,814.36   $    40,681.62   $      23,065.82   $     464,291.99
Expenses
 Advertising - Digital                             13,067.50           3,105.49           6,448.21           2,678.92         2,382.07           2,960.04            1,677.44          589.19            1,443.64          112.18           401.87           -4,225.92          30,640.63
 Advertising - Marketing                            4,490.83           2,510.29          12,942.72          10,272.02         2,562.10          31,653.72            9,148.58        15,435.79           9,329.59         2,412.21         6,172.79          -8,756.71          98,173.93
 Bank Charges                                        689.66             515.81             574.58             485.80            67.10             163.66               41.05            41.56               25.51           91.56            27.85               42.84            2,766.98
 Conference Fees                                                       1,600.00          15,000.00           9,300.00                                                                                                     2,750.00                          -10,150.00          18,500.00
 Energy Debt Holdings LLC - Interest Paid                                                 5,922.33                                              12,871.23                                               26,335.21                                            39,946.17          85,074.94
 Fees & Permits                                                                                                                                                                                                                                                  39.60                 39.60
 Industry Events/Materials                         20,000.00                             14,200.77            304.25          1,287.67           2,926.56                              450.00                                                                                   39,169.25
 Insurance                                          1,384.78           1,384.78           1,384.78          -1,897.30         1,056.38           1,056.38            1,056.38         1,411.21           1,704.79         1,205.49         1,205.49           1,205.49          12,158.65
 Interest Expense                                                                                                                                 492.22                                                                                                       622.17             1,114.39
 Meals and Entertainment                                                                                      371.93            28.41                                                                     579.62                                                                      979.96
   Travel Meals                                        63.37                                 24.47              42.34          137.88             164.34                                                                   438.93                                                     871.33
 Total Meals and Entertainment              $         63.37    $           0.00   $         24.47    $        414.27    $      166.29    $        164.34    $           0.00    $         0.00   $        579.62    $      438.93    $         0.00   $           0.00   $       1,851.29
 Memberships                                         135.00                                                                                                                                                                                                                           135.00
 Merchant Processing Fees                            140.66             139.61             111.28             121.28           139.61             111.28              356.32           154.94             116.61           164.94           116.61             143.59             1,816.73
 Office Expenses                                     520.82             577.73             439.87             506.39           662.89             133.35                               385.12                                               199.00                                3,425.17
 Office Rent                                        2,010.00           2,035.00           2,010.00           2,010.00         2,037.63           2,055.29            2,010.00         2,023.05           2,014.25         2,012.51         1,142.40        -164,528.05         -143,167.92
 Online Software & Subscriptions                    6,427.24           6,146.57           3,170.32           8,238.31         5,057.02           6,233.31            4,355.63         5,866.99           2,650.47         3,071.87         4,719.75          -6,308.60          49,628.88
 Payroll                                                                                                                                                                                                                                                                                0.00
   Commissions                                      4,837.55           9,173.64           1,380.31           4,749.64          854.39            7,396.83            5,018.97        12,088.60           5,507.76          365.14          5,602.14            933.83           57,908.80
   Employer Taxes                                   5,238.83           5,287.87           4,350.02           4,611.93         4,593.91           5,078.41            4,896.48         5,437.32           4,423.93         4,030.50         4,551.32           3,787.15          56,287.67
   Health Care                                      5,118.94           5,118.94           5,118.94           4,661.74         6,209.10           5,664.02            5,664.02         5,664.02           5,664.02         5,664.02         5,664.02           5,923.39          66,135.17
   Health Care - Employee Deductible               -3,496.58          -3,496.58          -3,496.58          -3,496.58        -3,769.12          -3,769.12           -3,769.12        -3,769.12          -2,960.65        -2,152.18        -2,152.18          -2,152.18          -38,479.99
   Processing Fees                                   234.11             250.11             246.91             246.91           267.71             267.71              267.71           267.71             267.71           254.91           254.91             254.91             3,081.32
   Severance Pay                                                                                                                                                                      3,333.34                                                                                    3,333.34
   Wages                                           55,738.56          56,996.11          52,569.98          58,770.44        50,678.20          62,531.08          58,088.68         55,484.62          54,084.55        55,614.40        52,931.95          50,790.84         664,279.41
 Total Payroll                              $      67,671.41   $      73,330.09   $      60,169.58   $      69,544.08   $    58,834.19   $      77,168.93   $      70,166.74    $    78,506.49   $      66,987.32   $    63,776.79   $    66,852.16   $      59,537.94   $     812,545.72
 Product Consulting                                                                                         20,000.00        10,000.00                             20,900.00                            10,000.00                                                               60,900.00
 Professional Fees                                                                                                                                                                                                                                                                      0.00
   General                                          6,271.60           9,445.00           7,490.00           3,196.30         2,550.00          12,314.70            3,272.50         1,957.51                            8,333.33                            8,333.33          63,164.27
   Legal & Accounting                              21,564.75          15,032.50          17,195.00          12,252.50        10,594.00           6,353.04            6,552.50         1,500.00           7,086.88         1,500.00         3,430.50           3,236.25         106,297.92
   Marketing Consulting                                                                                                                                                                                                   6,750.00                                                6,750.00
   Patent Work                                      1,650.00          12,666.98          11,899.80          12,388.00         7,828.00          15,973.49          12,798.10          8,421.95          10,732.00         3,813.80        10,445.72           2,647.88         111,265.72
   Product Development                             21,446.40           7,910.50          17,849.20           3,023.00         4,210.00           4,900.00            4,500.00         4,500.00           4,355.00         6,300.00         8,350.00           4,610.75          91,954.85
 Total Professional Fees                    $      50,932.75   $      45,054.98   $      54,434.00   $      30,859.80   $    25,182.00   $      39,541.23   $      27,123.10    $    16,379.46   $      22,173.88   $    26,697.13   $    22,226.22   $      18,828.21   $     379,432.76
 Research & Development                                                   40.00              40.00              40.00           40.00               40.00              40.00            40.00               40.00           40.00            40.00                                    400.00
 Shipping & Postage                                                                                                             -70.00                                                                                                                                                -70.00
 Taxes & Licenses                                                                          164.05                                                                                                                                                             3,964.11            4,128.16
 Travel                                             3,102.41           3,101.92           7,357.52           4,107.52         3,671.38            793.48             2,673.71          602.12            3,559.63         2,649.62         1,553.40          -7,664.20          25,508.51
 Utilities                                             78.00              78.27              78.00              78.54           78.00               78.00              78.00            78.00               78.00           78.00           -175.68                                   605.13
Total Expenses                              $     170,714.43   $     139,620.54   $     184,472.48   $     157,063.88   $ 113,154.33     $     178,443.02   $     139,626.95    $ 121,963.92     $     147,038.52   $ 105,501.23     $ 104,481.86     -$     77,303.36   $    1,484,777.80
Net Operating Income                        -$    124,439.46   -$    104,237.20   -$    135,994.47   -$    110,132.38   -$   75,030.59   -$    138,352.95   -$     97,722.57    -$   86,681.53   -$    120,776.73   -$   63,686.87   -$   63,800.24   $     100,369.18   -$   1,020,485.81
Other Income
 Other Income                                                                                                                54,832.12                                                                                                                                          54,832.12
Total Other Income                          $           0.00   $           0.00   $           0.00   $           0.00   $    54,832.12   $           0.00   $           0.00    $         0.00   $           0.00   $         0.00   $         0.00   $           0.00   $      54,832.12
Other Expenses
 Ask My Client                                                                                                                                                                          63.32                                                                                          63.32
 Interest Expense-Convertible Notes                 8,138.33           8,138.33           8,138.33           8,138.33         8,138.33           8,138.33            8,138.33         8,138.33           8,138.33         8,138.33         8,138.33           8,138.33          97,659.96
 Loss on Fixed Asset Disposal                                                                                                                                                                                                                               110,569.33         110,569.33
Total Other Expenses                        $       8,138.33   $       8,138.33   $       8,138.33   $       8,138.33   $     8,138.33   $       8,138.33   $       8,138.33    $     8,201.65   $       8,138.33   $     8,138.33   $     8,138.33   $     118,707.66   $     208,292.61
Net Other Income                            -$      8,138.33   -$      8,138.33   -$      8,138.33   -$      8,138.33   $    46,693.79   -$      8,138.33   -$      8,138.33    -$    8,201.65   -$      8,138.33   -$    8,138.33   -$    8,138.33   -$    118,707.66   -$    153,460.49
Net Income                                  -$    132,577.79   -$    112,375.53   -$    144,132.80   -$    118,270.71   -$   28,336.80   -$    146,491.28   -$    105,860.90    -$   94,883.18   -$    128,915.06   -$   71,825.20   -$   71,938.57   -$     18,338.48   -$   1,173,946.30
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                                                                                                                                       Sourcenergy, Inc.
                                                                                                                                        Balance Sheet
                                                                                                                                       As of December 31, 2022

                                                                  Jan 2022               Feb 2022               Mar 2022               Apr 2022               May 2022               Jun 2022               Jul 2022               Aug 2022               Sep 2022               Oct 2022               Nov 2022               Dec 2022
ASSETS
 Current Assets
   Bank Accounts
     Cash Clearing                                                           0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00
     Checking - Amegy 6048                                            61,622.71              37,452.83              73,180.66                8,862.79             76,793.32              -14,215.23             87,942.34              30,784.48              20,933.17              16,393.65               -7,411.54             -16,026.00
     Checking - BB&T 9075                                                456.02                 456.02                 456.02                 456.02                 456.02                 456.02                 456.02                 456.02                 456.02                 456.02                 456.02                 456.02
     Checking - TD Bank 5650                                            1,500.00               9,000.00               1,460.00               1,510.00               1,510.00               1,510.00              1,510.00                1,510.00               1,510.00               1,510.00               1,510.00               1,510.00
     Savings - Amegy Sweep 8818                                          -254.88                -254.88                -254.88                -254.88                -254.88                -254.88               -254.88                 -254.88                -254.88                -254.88                -254.88                -254.88
   Total Bank Accounts                                       $        63,323.85     $        46,653.97     $        74,841.80     $        10,573.93     $        78,504.46     -$       12,504.09     $        89,653.48     $        32,495.62     $        22,644.31     $        18,104.79     -$        5,700.40     -$       14,314.86
   Accounts Receivable
     Accounts Receivable                                             264,930.31             266,637.60             300,143.47             330,258.69             313,883.64             463,282.19             247,761.32             213,258.18             229,102.51             218,187.80             201,560.74             276,039.01
   Total Accounts Receivable                                 $       264,930.31     $       266,637.60     $       300,143.47     $       330,258.69     $       313,883.64     $       463,282.19     $       247,761.32     $       213,258.18     $       229,102.51     $       218,187.80     $       201,560.74     $       276,039.01
   Other Current Assets
     Due from Wellsite Navigator                                      10,985.95              10,985.95              10,985.95              10,985.95              10,985.95              10,985.95              10,985.95              10,985.95              10,985.95              10,985.95                     0.00                   0.00
     Prepaid Expenses                                                 13,121.17              13,021.17              12,921.17              12,821.17              12,721.17              12,621.17              16,779.17              16,324.34              15,869.51              15,414.68              14,959.85              14,505.02
     Undeposited Funds                                                       0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00
   Total Other Current Assets                                $        24,107.12     $        24,007.12     $        23,907.12     $        23,807.12     $        23,707.12     $        23,607.12     $        27,765.12     $        27,310.29     $        26,855.46     $        26,400.63     $        14,959.85     $        14,505.02
 Total Current Assets                                        $       352,361.28     $       337,298.69     $       398,892.39     $       364,639.74     $       416,095.22     $       474,385.22     $       365,179.92     $       273,064.09     $       278,602.28     $       262,693.22     $       210,820.19     $       276,229.17
 Fixed Assets
   Computers & Peripherals                                            24,043.23              24,043.23              24,043.23              24,043.23              24,043.23              24,043.23              24,043.23              24,043.23              24,043.23              24,043.23              24,043.23                     0.00
   Fixed Asset Office Equipment                                       71,246.38              71,246.38              71,246.38              71,246.38              71,246.38              71,246.38              71,246.38              71,246.38              71,246.38              71,246.38              71,246.38                     0.00
   Intangible Assets                                                    7,578.16               7,578.16               7,578.16               7,578.16               7,578.16               7,578.16              7,578.16                7,578.16               7,578.16               7,578.16               7,578.16               7,578.16
   Leasehold Improvements                                             19,539.21              19,539.21              19,539.21              19,539.21              19,539.21              19,539.21              19,539.21              19,539.21              19,539.21              19,539.21              19,539.21                     0.00
   x Accumulated Depreciation                                          -9,755.49              -9,755.49              -9,755.49              -9,755.49              -9,755.49              -9,755.49              -9,755.49              -9,755.49              -9,755.49              -9,755.49              -9,755.49                    0.00
 Total Fixed Assets                                          $       112,651.49     $       112,651.49     $       112,651.49     $       112,651.49     $       112,651.49     $       112,651.49     $       112,651.49     $       112,651.49     $       112,651.49     $       112,651.49     $       112,651.49     $         7,578.16
 Other Assets
   Security Deposits                                                    5,496.00               5,496.00               5,496.00               5,496.00               5,496.00               5,496.00              5,496.00                5,496.00               5,496.00               5,496.00               5,496.00                    0.00
 Total Other Assets                                          $         5,496.00     $         5,496.00     $         5,496.00     $         5,496.00     $         5,496.00     $         5,496.00     $         5,496.00     $         5,496.00     $         5,496.00     $         5,496.00     $         5,496.00     $               0.00
TOTAL ASSETS                                                 $       470,508.77     $       455,446.18     $       517,039.88     $       482,787.23     $       534,242.71     $       592,532.71     $       483,327.41     $       391,211.58     $       396,749.77     $       380,840.71     $       328,967.68     $       283,807.33
LIABILITIES AND EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       Accounts Payable                                              312,258.22             317,847.58             385,365.87             357,478.62             376,250.59             338,662.85             377,755.46             351,469.16             359,368.04             354,491.47             373,565.19             235,089.30
     Total Accounts Payable                                  $       312,258.22     $       317,847.58     $       385,365.87     $       357,478.62     $       376,250.59     $       338,662.85     $       377,755.46     $       351,469.16     $       359,368.04     $       354,491.47     $       373,565.19     $       235,089.30
     Credit Cards
       Total CC - Amegy 9040 Control                         $        28,237.09     $        28,209.72     $        38,520.00     $        45,918.36     $        54,407.30     $        57,677.77     $        58,754.48     $        60,696.17     $        72,249.25     $        75,795.32     $        81,625.62     $        49,699.39
       CC - Amegy 9040 Control CC - Amegy 0293 L McDougald            49,812.50              53,305.57              49,146.58              33,774.03              36,128.75              24,239.23              27,269.37              27,454.31              23,139.25              23,324.19              18,513.38                 -958.03
     Total Credit Cards                                      $        78,049.59     $        81,515.29     $        87,666.58     $        79,692.39     $        90,536.05     $        81,917.00     $        86,023.85     $        88,150.48     $        95,388.50     $        99,119.51     $       100,139.00     $        48,741.36
     Other Current Liabilities
       Accrued Payroll Liability                                      43,275.28              43,275.28              43,275.28              43,275.28              43,275.28              43,275.28              43,275.28              43,275.28              47,698.86              56,546.02              65,393.18              74,240.34
       Customer Deposits                                                     0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00
       Energy Debt Holdings LLC - Loan Payable                       150,000.00             250,000.00             350,000.00             450,000.00             450,000.00             462,871.23             462,871.23             462,871.23             489,206.44             489,206.44             489,206.44             529,152.61
       Payroll Clearing                                                  777.50                 777.50                 777.50                 891.88                 891.88                 891.88                 891.88                 891.88                 891.88                 891.88                 891.88                 891.88
       Sales Tax Payable                                              15,570.54              15,300.15              19,122.39              18,830.62              21,741.14              20,096.20              20,182.00              18,100.84              19,219.13              14,368.36              10,850.02              12,364.27
       Unearned Revenue                                              318,067.04             298,456.98             318,553.33             305,471.89             304,899.69             456,523.14             401,755.15             372,625.00             351,925.94             346,852.92             289,344.05             346,475.80
     Total Other Current Liabilities                         $       527,690.36     $       607,809.91     $       731,728.50     $       818,469.67     $       820,807.99     $       983,657.73     $       928,975.54     $       897,764.23     $       908,942.25     $       907,865.62     $       855,685.57     $       963,124.90
   Total Current Liabilities                                 $       917,998.17     $      1,007,172.78    $      1,204,760.95    $      1,255,640.68    $      1,287,594.63    $      1,404,237.58    $     1,392,754.85     $      1,337,383.87    $      1,363,698.79    $     1,361,476.60     $      1,329,389.76    $      1,246,955.56
   Long-Term Liabilities
     Convertible Note Payable-Investors                              400,749.66             400,749.66             400,749.66             400,749.66             400,749.66             400,749.66             400,749.66             400,749.66             400,749.66             400,749.66             400,749.66             400,749.66
     Interest Accrued - Convertible Notes Investors                   76,809.94              81,648.27              86,486.60              91,324.93              96,163.26             101,001.59             105,839.92             110,678.25             115,516.58             120,354.91             125,193.24             130,031.57
     Interest Accrued - Notes Payable Officer                         29,450.00              32,750.00              36,050.00              39,350.00              42,650.00              45,950.00              49,250.00              52,550.00              55,850.00              59,150.00              62,450.00              65,750.00
     Note Payable-Officer                                            600,000.00             600,000.00             600,000.00             625,000.00             625,000.00             705,000.00             705,000.00             755,000.00             855,000.00             905,000.00             949,014.05             999,014.05
     Notes Payable - EIDL Loan                                       460,200.00             460,200.00             460,200.00             460,200.00             499,900.00             499,900.00             499,900.00             499,900.00             499,900.00             499,900.00             499,900.00             497,374.00
     Notes Payable - PPP Loan                                                0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00
   Total Long-Term Liabilities                               $      1,567,209.60    $      1,575,347.93    $      1,583,486.26    $      1,616,624.59    $      1,664,462.92    $      1,752,601.25    $     1,760,739.58     $      1,818,877.91    $      1,927,016.24    $     1,985,154.57     $      2,037,306.95    $      2,092,919.28
 Total Liabilities                                           $      2,485,207.77    $      2,582,520.71    $      2,788,247.21    $      2,872,265.27    $      2,952,057.55    $      3,156,838.83    $     3,153,494.43     $      3,156,261.78    $      3,290,715.03    $     3,346,631.17     $      3,366,696.71    $      3,339,874.84
 Equity
   APIC - Series A                                                  7,682,645.91           7,682,645.91           7,682,645.91           7,682,645.91           7,682,645.91           7,682,645.91          7,682,645.91            7,682,645.91           7,682,645.91           7,682,645.91           7,682,645.91           7,682,645.91
     Series A Legal Fees                                             -120,638.62            -120,638.62            -120,638.62            -120,638.62            -120,638.62            -120,638.62           -120,638.62             -120,638.62            -120,638.62            -120,638.62            -120,638.62            -120,638.62
   Total APIC - Series A                                     $      7,562,007.29    $      7,562,007.29    $      7,562,007.29    $      7,562,007.29    $      7,562,007.29    $      7,562,007.29    $     7,562,007.29     $      7,562,007.29    $      7,562,007.29    $     7,562,007.29     $      7,562,007.29    $      7,562,007.29
   Common Stock                                                         4,000.00               4,000.00               4,000.00               4,000.00               4,000.00               4,000.00              4,000.00                4,000.00               4,000.00               4,000.00               4,000.00               4,000.00
   Retained Earnings                                               -9,448,128.50          -9,448,128.50          -9,448,128.50          -9,448,128.50          -9,448,128.50          -9,448,128.50          -9,448,128.50          -9,448,128.50          -9,448,128.50          -9,448,128.50          -9,448,128.50          -9,448,128.50
   Net Income                                                        -132,577.79            -244,953.32            -389,086.12            -507,356.83            -535,693.63            -682,184.91           -788,045.81             -882,928.99          -1,011,844.05          -1,083,669.25          -1,155,607.82          -1,173,946.30
 Total Equity                                                -$     2,014,699.00    -$     2,127,074.53    -$     2,271,207.33    -$     2,389,478.04    -$     2,417,814.84    -$     2,564,306.12    -$    2,670,167.02     -$     2,765,050.20    -$     2,893,965.26    -$    2,965,790.46     -$     3,037,729.03    -$     3,056,067.51
TOTAL LIABILITIES AND EQUITY                                 $       470,508.77     $       455,446.18     $       517,039.88     $       482,787.23     $       534,242.71     $       592,532.71     $       483,327.41     $       391,211.58     $       396,749.77     $       380,840.71     $       328,967.68     $       283,807.33
